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lN THE UNlTED STATES DlSTRlCT COURT
FOR THE D|STR|CT OF COLUMB|A

Rodney Lail, et ai.,
P|aintiffs, Civi| Action No. 01:10-CV-00210-PLF
vs.
United States, et aI., ORDER
Defendants.

 

 

Upon consideration of the Motion to Dismiss filed by Defendants Sean Nian<ham
and Susan Stewart, and upon consideration of any oppositions or responses thereto,

it is this ____ day of August, 2010, ORDERED:
(1) That the Defendant’s Motion to Dismiss is hereby GRANTED; and

(2) That this action against Defendant Susan Stewart be and is hereby
DiSMiSSED W|THOUT PREJUDICE

 

Pau| Friedman
United States District Judge

